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                          United States District Court
                           Southern District of Texas


                          Certificate of Good Standing


        I, David J. Bradley, Clerk of Court, United States District Court for the
Southern District of Texas, certify that the attorney identified below is admitted to
practice in this court, and is in good standing as a member of the Bar of this Court.


                      Mitchell R. Kreindler, Federal ID No 32980
                           Admission date: February, 7, 2003




Dated October 3, 2019, at Houston, Texas.




David J. Bradley,
Clerk of Court



By: Donna Wilkerson, Deputy Clerk
